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                                UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF LOUISIANA


In re: KATRINA CANAL BREACHES                                           CIVIL ACTION
CONSOLIDATED LITIGATION
                                                                        Case No.: 05-4182
PERTAINS TO: BARGE                                                      And consolidated cases

                                                                        SECTION “K” (2)
Boutte v. Lafarge           05-5531
Mumford v. Ingram           05-5724
Lagarde v. Lafarge          06-5342                                     Hon. Stanwood R. Duval, Jr.
Perry v. Ingram             06-6299                                     Magistrate Judge Joseph C.
Benoit v. Lafarge           06-7516                                                 Wilkinson, Jr.
Weber v. Lafarge            08-4459


                  LNA’S STATEMENT OF UNDISPUTED MATERIAL FACTS

         Pursuant to Local Rule 56.1, Lafarge North America Inc. (“LNA”) submits this statement

of material facts not genuinely in dispute to accompany its motion for summary judgment.1

Geography – The Inner Harbor Navigation Canal

     1. The Lafarge North America cement terminal (“LNA Terminal”) is located on the west

         side of the Inner Harbor Navigation Canal (“IHNC”). The terminal is located in a turning

         basin or “inset” away from the main channel of the IHNC.

                  References
                  Hall Tr. 1979:1-8 (Ex. 1.M).
                  Cushing Tr. 2041:12-14 (Ex. 1.N).
                  Cushing Report at 15, Fig. 8 (DX 196) (Ex. 2).
                  Green Tr. 567:23 (Ex. 1.E).




1
  Citations in this document are to trial testimony from the 2010 trial (i.e., “Cushing Tr. [page:line]”), trial exhibits
from the 2010 trial (“PX” or “DX”), the undisputed facts set forth in the Joint Pre-Trial Order (Doc. 19857, at 37-
42) (i.e., “LNA Pre-Trial Undisputed Fact xx” or “Plaintiffs’ Pre-Trial Undisputed Fact xx”), and documents filed in
the docket of this action (“Doc. xx”). Citations to “EX [#]” refer to the exhibits to this Statement of Material Facts.
Except where noted, exhibits are provided in their entirety.



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     2. On the morning of August 29, 2005, two breaches occurred in the floodwall on the east

        side of the IHNC.

                 References
                 Cushing Report at 80, Fig. 52 (DX 196) (Ex. 2).
                 Marino Report at 4-5, Photo 4.4 (PX 397) (Ex. 3).
                 LNA Pre-Trial Undisputed Fact 23 (“On the morning of August 29, 2005, two
                 breaches occurred in the floodwall on the east side of the IHNC.”) (Ex. 4).

     3. The “North Breach” occurred just south of the Florida Avenue Bridge, at a location to the

        north and east of the Lafarge Terminal and on the opposite side of the IHNC from the

        Terminal.

                 References
                 Cushing Tr. 2042:5-6; 2046:4-7 (Ex. 1.N).
                 Cushing Report at 80, Fig. 52 (DX 196) (Ex. 2).
                 Marino Report at 4-5; Photo 4.4 (PX 397) (Ex. 3).

     4. The “South Breach” occurred closer to the Claiborne Avenue Bridge, at a location to the

        south and east of the Lafarge Terminal and on the opposite side of the IHNC from the

        Terminal.

                 References
                 Cushing Tr. 2042:7-8 (Ex. 1.N).
                 Cushing Report at 80, Fig. 52 (DX 196) (Ex. 2).
                 Marino Report at 4-5, Photo 4.4 (PX 397) (Ex. 3).

Barge ING 4727

     5. Prior to the arrival of Hurricane Katrina, the unloaded Barge ING 4727 was moored at

        the LNA Terminal on the west side of the IHNC.

                 References
                 Cushing Report at 26 (DX 196) (Ex. 2).
                 Pazos Report at 7-8 (PX 402) (Ex. 5).



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     6. The Barge ING 4727 was a hopper barge with no motor or other means of self-

        propulsion. Therefore, the Barge ING 4727 required an external force to propel it from

        the west side to the east side of the IHNC. The only forces that could potentially have

        moved the Barge ING 4727 away from the LNA Terminal and across the canal to the

        location of the breach sites during Hurricane Katrina were (a) wind, (b) waves and/or (c)

        current (including tidal flow).

                 References
                 Cushing Tr. 2042:15-2043:7(Ex. 1.N).
                 Pazos Dep. 99-100 (barge “cannot move on its own” except for “wind conditions
                 or currents”; barge requires “an external force” to move it) (DX 218) (Ex. 6).
                 Marino 2009 Dep. 111 (admitting that in order for barge to move from one place
                 to the other, something – wind or water – has to move it) (DX 229) (Ex. 7).
                 Green 2009 Dep. 125 (barge was “at the mercy of the winds and current”) (DX
                 216) (Ex. 8).
                 Green 2009 Dep. 127 (barge was “dumb” and had no mode of power) (DX 216)
                 (Ex. 8).
                 Green 2009 Dep. 210 (barge movement could be affected by waves) (DX 216)
                 (Ex. 8).
                 LNA Pre-Trial Undisputed Fact 15 (“ING 4727 was a hopper barge with no
                 motor or other means of self-propulsion.”) (Ex. 4).
                 LNA Pre-Trial Undisputed Fact 16 (“ING 4727 required an external force to
                 propel it from the west side to the east side of the IHNC.”) (Ex. 4).

     7. The Barge ING 4727 was over 20 feet high from top to bottom (including hatch covers).

                 References
                 Cushing Report at 124 (21 feet high) (DX 196) (Ex. 2).
                 Pazos Dep. 102 (“23 feet, approximately”) (DX 218) (Ex. 6).
                 LNA Pre-Trial Undisputed Fact 17 (“ING 4727 was over twenty feet high from
                 top to bottom (including hatch covers).”) (Ex. 4).

     8. On the morning of August 29, 2005, the unloaded Barge ING 4727 had a draft of

        approximately one-and-a-half feet and was sticking out of the water over 20 feet above

        the waterline, which gave it a large sail area.

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                 References
                 Cushing Report at 124 (barge stickup of approximately 20 feet and had a draft of
                 1 foot, 4 inches) (DX 196) (Ex. 2).
                 Pazos Dep. 100 (barge draft of 1 foot, 5 inches); 103-04 (barge sticking up out of
                 water “in excess of twenty feet”) (DX 218) (Ex. 6).
                 Marino Report at 2-34 (unloaded draft is 1.5 feet) (PX 397) (Ex. 3).
                 Green 2008 Dep. 75-76 (barge’s light draft is 1 foot, 4.5 inches – the remainder
                 of the barge is above water) (DX 224) (Ex. 9).
                 Marino 2009 Dep. 66 (barge was unloaded, and sticking up over 20 feet) (DX
                 221) (Ex. 7).

     9. This “sail area” made the barge susceptible to being moved in the direction of the

        prevailing wind.

                 References
                 Cushing Tr. 2042:15-2043:7 (“hurricane winds were strong,” “barge has a lot of
                 sail area,” current was “insignificant,” and “waves would have been moving in
                 the direction of the wind, so they would have only added to the force of the wind”)
                 (Ex. 1.N).
                 Pazos Tr. 853:4-7 (“Primarily the wind” affects a barge with a high sail area)
                 (Ex. 1.G).
                 Pazos Dep. 104 (“wind is the predominant item” acting on the barge) (DX 218)
                 (Ex. 6).
                 Green 2009 Dep. 45 (agreeing that barge has a “large sail area” and that “the
                 greater the sail area, the more susceptible to wind”) (DX 216) (Ex. 8).

Hurricane Katrina – Winds

     10. During the day before the storm, Sunday August 28, 2005, the weather was calm and

           there was no wind or other force capable of causing the mooring ropes on the barge to

           melt, fuse, and break in the manner that they did.

                 References:
                 Skaer Tr. 2524:22-25 (ropes melted and fused) (Ex. 1.P).
                 Cushing Report at B-10 (lockmaster record showed “no wind of 36 mph on
                 Sunday) (DX 196) (Ex. 2).
                 Green Tr. 541:18-23 (barge required 36 mph wind to break free) (Ex. 1.E).



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                 LeBlanc Tr. 380:5-10 (weather was “nice” and “pleasant” and “not windy”)
                 (Ex. 1.C).
                 Tompkins Tr. 404:5-7 (“nice” weather) (Ex. 1.D).
                 Marino Report at 3-11 and Figure 3.3 (PX 397) (Ex. 3).

     11. Weather data, particularly involving winds, is important to analyze wind loads on the

           barge and potential barge movement in the IHNC during the relevant time period.

                 References
                 Cushing Report at 77-80 (analyzing wind data and noting its importance for
                 barge movement) (DX 196) (Ex. 2).
                 Marino Tr. 1342:25-1343:3 (“if you wanted to actually know what really
                 happened, what really moved this barge around, then meteorological data would
                 be germane”) (Ex. 1.I).
                 Marino Tr. 1343:4-11 (weather data helps assess what the barge impact loads
                 could potentially be, and what the wind loads were on the barge at the time of the
                 failure) (Ex. 1.I).
                 Marino 2009 Dep. 71:20-23 (Q: “The weather data helps you to assess what in
                 fact the wind loads were on the barge in the IHNC at the time of the failure;
                 correct?” A: “Yes.”) (DX 221) (Ex. 7).

     12. According to Buys Ballot’s law, hurricane winds in the northern hemisphere blow

           counterclockwise around the center (or “eye”) of the hurricane. Thus, the direction of

           the prevailing wind at a given time and location during a hurricane can be determined

           by comparing that location to the location of the eye of the storm at that same time.

                 References
                 Dooley Tr. 1840:16-1842:14 (describing counter-clockwise flow around the low
                 pressure and the relationship of the low pressure center to wind direction) (Ex.
                 1.L).
                 Dooley Slide AD-011 (DX 347) (Ex. 21).
                 Dooley Tr. 1841:22-24 (“Q: Is there any dispute about the validity of Buys
                 Ballot’s Law? A: No, not at all.”) (Ex. 1.L).
                 Dooley Tr. 1929:25-1932:5 (“if you know where the low is and if you’re in a
                 particular location, you can get an idea of what the synoptic scale of wind
                 direction will be”) (Ex. 1.L).




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                 Cushing Tr. 2043:13-25 & Cushing Slide CC-009 (DX 349) (“where you face into
                 the wind, and the eye of the hurricane is two points of abaft the beam on your
                 starboard side, or approximately so”) (Ex.1.N).
                 Cushing Report at 35-36 (“counter-clockwise circulation around the center”)
                 (DX 196) (Ex. 2).
                 Mitchell Tr. 1031:4-10 (agreeing that “[h]urricanes circulate in a cyclonic
                 counterclockwise motion” and “if you stand with your back to the wind in a
                 hurricane in the northern hemisphere, you expect the low-pressure area to be to
                 your left”) (Ex.1.H).
                 Pazos Dep. 107:23-108:14, 117:2-5 (“the hurricane[s] in the Gulf of Mexico
                 have a counterclockwise rotation”; agreeing that “hurricane winds swirl
                 counterclockwise along the storm eye”) (DX 218) (Ex. 6).
                 LNA Pre-Trial Undisputed Fact 18 (“In the northern hemisphere, the
                 counterclockwise cyclonic motion of a hurricane means that the area of low-
                 pressure (the eye of the storm) is to the left of a person standing with his back to
                 the wind.”) (Ex. 4).

     13. The track of Hurricane Katrina was to the east of New Orleans and the IHNC, along the

           path described in Appendix 5 to the Court’s Findings of Fact and Conclusions of Law

           (Dkt. No. 20149). The center of the storm was located to the east of New Orleans and

           the IHNC throughout the duration of the storm.

                 References
                 Cushing Report at 39 & Fig. 24 (DX 196) (Ex. 2).
                 Dooley Report at 16, Map 2 (close-up view of storm track near New Orleans) (DX
                 198) (Ex. 10).
                 Dooley Report at 35 (storm center passed to the east of New Orleans) (DX 198)
                 (Ex. 10).
                 Spinks Report at 8, Fig. 1 (showing track of Hurricane Katrina) (PX 421) (Ex.
                 11).
                 Mitchell Tr. 1030:17-25 (Ex. 1.H).

     14. At all times prior to 7:30 a.m. on the morning of August 29, 2005, the eye of Hurricane

           Katrina was at a latitude to the south of New Orleans and the IHNC; the eye did not

           pass through the latitude of New Orleans and the IHNC until after 8:00 a.m.

                 References

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                 Dooley Report at 16, Map 2 (showing position of storm center was south-
                 southeast of New Orleans at these times) (DX 198) (Ex. 10).
                 Dooley Report at 16-17 (eye of Hurricane Katrina did not pass latitude of New
                 Orleans until 8:54 a.m.) (DX 198) (Ex. 10).
                 Cushing Report at 43 (DX 196) (Ex. 2).
                 Mitchell Tr. 1031:1-3 (“Q: The storm center passed to the east of New Orleans
                 around 9:00 in the morning on August 29th? A: Correct.”) (Ex. 1.H).
                 Green 2009 Dep. 119-120 (at 6:00 a.m., the storm was South-Southeast of New
                 Orleans) (DX 216) (Ex. 8).
                 Spinks 2008 Dep. 60:18-61:3 (storm made landfall at Buras, LA around 6:10
                 a.m.) (DX 226) (Ex. 12).
                 Pazos Dep. 118-19 (“Hurricane Katrina’s eye passed to the east of New Orleans
                 about 8:30 a.m. central daytime on 29 August 2005.”) (reading from report and
                 adopting statement) (DX 218) (Ex. 6).
                 LNA Pre-Trial Undisputed Fact 19 (“The eye of Hurricane Katrina did not pass
                 through the latitude of New Orleans and the IHNC until after 8:00 a.m. CDT on
                 the morning of August 29, 2005.”) (Ex. 4).

     15. As Hurricane Katrina approached New Orleans and the IHNC from the south, the

           prevailing winds in the IHNC blew first from east to west, then from northeast-to-

           southwest, and then from north-to-south until the storm eye reached the latitude of the

           IHNC, and only after that from west to east.

                 References
                 IPET Report Vol. IV at IV-17 (“winds first from the east, then northeast, then
                 from the north, then northwest, and finally from the west”) (DX 145) (Ex. 13).
                 Dooley Tr. 1839:4-9 (when Katrina was to the south of New Orleans, the winds
                 were northeasterly) (Ex. 1.L).
                 Dooley Tr. 1848:6-15 (at 7:00 a.m., winds blew from the northeast); 1849:8-24
                 (from 7:00-8:45 a.m., the northeasterly winds gradually became more northerly
                 until the system passed and they became slightly westerly) (Ex. 1.L).
                 Dooley Tr. 1884:15-19; 1885:18-1886:4 (prevailing direction was mostly out of
                 the northeast, and any type of downdrafts, swirls or eddies would have moved in
                 the downwind direction from the northeast toward the southwest) (Ex. 1.L).
                 Dooley Report at 35 (prevailing winds turned from easterly to northerly to
                 westerly as Katrina moved along its track) (DX 198) (Ex. 10).




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                 Lemon Tr. 1719:11-15 (from 7:00 p.m. on August 28 through 9:00 a.m. on August
                 29, winds blew from the northeast toward the southwest until very late in the
                 period when they turned to a more northerly direction) (Ex. 1.K).
                 Cushing Report at 77-80 & Fig. 52 (showing wind direction as a function of time)
                 (DX 196) (Ex. 2).
                 Kemp Tr. 2989:1-16 (Team Louisiana ruled out the barge as a potential cause of
                 the IHNC breaches because at all relevant times the wind was out of the
                 northeast) (Ex. 1.R).
                 Marino 2009 Dep. 74:13-17 (Q: “Do you accept IPET’s conclusion that, during
                 this storm, winds came first from the east, then the northeast, then the north, then
                 the northwest and finally from the west?” A: “I guess in general, yes.”) (DX 221)
                 (Ex. 7).
                 Green 2008 Dep. 56:12-20 (winds between 4:00 a.m. and 6:00 a.m. blew “from
                 either the northeast or due from the north”) (DX 224) (Ex. 9).

     16. From 4:00 am to approximately 7:45 am on August 29, 2005, Hurricane Katrina’s

           prevailing winds included no component blowing across the IHNC from the LNA

           Terminal toward the east bank of the IHNC.

                 References
                 Dooley Tr. 1856:1-10 (the first time the wind has a component blowing from the
                 west is between 7:30 and 7:45 a.m.) (Ex. 1.L).
                 Dooley Tr. 1887:19-1888:9 (at 7:45 a.m., the winds still had a strong southerly
                 component and it was not until after 9:00 that the wind takes a more westerly
                 than northerly direction) (Ex. 1.L).
                 Cushing Tr. 2128:10-20 (“By 7:30, the wind would have been blowing more
                 parallel to the canal, and it isn’t until after 8 o’clock that it starts to take a more
                 westerly component.”) (Ex. 1.N).
                 Cushing Report at 45, 78 (winds prior to 8:00 a.m. had no cross-canal
                 component) (DX 196) (Ex. 2).
                 Dooley Report at 35 (“up until 0742 CDT, the wind direction would push the
                 barge toward the dock”) (DX 198) (Ex. 10).
                 IPET Report Vol. IV at IV-50 Fig. 26 (wind direction was from the northeast
                 during the 6:00 a.m. to 7:00 a.m. time period) (DX 145) (Ex. 13).
                 Marino Report at 3-11 (winds remained “essentially parallel” to IHNC before
                 9:00 a.m.) (PX 397) (Ex. 3).




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     17. A hindcast performed by Oceanweather Inc. (“OWI”) is consistent with respect to the

           direction of the prevailing wind in the IHNC during Hurricane Katrina, and supports

           the conclusion that winds blew from the east and then northeast and north during the

           early morning hours of August 29. The OWI hindcast may be used to interpolate wind

           directions at the IHNC during Katrina.

                 References:
                 Dooley Tr. 1852:3-1857:4 (findings and application of OWI hindcast) (Ex. 1.L).
                 Dooley Tr. 1838:3-6; 1851:1-11; 1851:17-20 (hindcast “would give us an
                 excellent understanding of the synoptic scale winds surrounding Katrina”) (Ex.
                 1.L).
                 Dooley Tr. 1852:3-1853:1 (grid points A, B, C, and D, each located 3 miles or
                 less from the Canal and used to interpolate wind directions and speed at the
                 IHNC and plotted in Table 6-A of Dr. Dooley’s Report (DX 198) (Ex. 10)) (Ex.
                 1.L).
                 Dooley Tr. 1916:13-24 (the hindcast shows “the synoptic scale flow,” “the
                 prevailing winds”) (Ex. 1.L).
                 Dooley Tr. 1853:5-1856:21 (Ex. 1.L.)
                 Dooley Slides AD-020, AD-022, AD-024, and AD-026-029 (DX 347) (Ex. 35).
                 Dooley Report at 21 (DX 198) (Ex. 10).


     18. Lakefront Airport data applies to the IHNC four miles away, and is representative of

           the type of wind directions and speeds that one would see at the IHNC. Local

           meteorological data from Lakefront Airport confirm that the direction of the prevailing

           wind in the IHNC during Hurricane Katrina was from the east and northeast, and would

           not have permitted the barge to be present at the east floodwall when the breaches

           occurred.

                 References:
                 Dooley Report at 17-18, 34 (DX 198) (Ex. 10).
                 Dooley Tr. 1875:2-9 (“representative of the type of [wind] directions and speeds
                 that one would see at [the] IHNC”); 1881:7-12 (Ex. 1.L).



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                 Dooley Tr. 1857:14-17 (distance from the anemometer at Lakefront Airport to the
                 IHNC was approximately 4 miles) (Ex. 1.L)
                 Dooley Slide AD-031 (Google Map) (DX 347) (Ex. 35).
                 Dooley Tr. 1862:18-20 (no west-to-east winds from 3:03 a.m. to 6:53 a.m.) (Ex.
                 1.L).
                 Dooley Tr. 1908:1-16 (there is “consistency” between the Lakefront data and the
                 hindcast) (Ex. 1.L).
                 Dooley Tr. 1876:13-1877:3(Ex. 1.L).
                 Dooley Slides AD-049-59 (showing consistency between OWI hindcast and
                 Lakefront Airport weather data) (DX 347) (Ex. 35)
                 ).
                 Marino Tr. 1344:22-1345:4 (considered the Lakefront data sufficiently reliable to
                 include it in his report) (Ex. 1.I).
                 Marino Report at 3-11 (PX 397) (Ex. 3).
                 Lakefront Airport data (DX 338) (Ex. 14).
                 Green 2009 Dep. Exh. B (Lakefront Airport data) (PX 387) (Ex. 8).

     19. The National Weather Service’s radar station at Slidell was about 23 nautical miles to

           the northeast of the IHNC. Data from that station confirmed that the winds blew

           consistently from the northeast at the IHNC during the relevant hours on the morning of

           August 29, 2005.

                 References:
                 Lemon Tr. 1746:10-12 (location of Slidell) (Ex. 1.K).
                 Lemon Tr. 1719:11-14, 1720:4-15, 1775:13-16, 1777:14-19, 1778:13-1779:25
                 (“The data indicates a strong northeast wind, that is, northeast to southwest.”)
                 (Ex. 1.K).
                 Lemon Slide LL-021 (radar images exemplify northeasterly winds seen
                 throughout the period) (DX 346) (Ex. 15).
                 Lemon Tr. 1823:5-17 (“uniform wind field from the northeast”) (Ex. 1.K).
                 Lemon Report at 2, 19, 35 (“winds were sustained northeasterly”) (DX 311) (Ex.
                 16).




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     20. Every six-minute image from the Slidell station showed “base radial velocity” data

           expressed in shades or red, indicating winds blowing away from the radar at the IHNC

           location (i.e., from the northeast).

                 References:
                 Lemon Tr. 1723:9-16(Ex. 1.K).
                 Lemon Tr. 1726:23- 1727:9 (Ex. 1.K).
                 Lemon Report at Fig. 1 (DX 311) (Ex. 16).
                 Mitchell Tr. 1002:9-15, 1011:11-1012:5 (Ex. 1.H).

Hurricane Katrina – Current and Tides

     21. The IHNC below the Florida Avenue Bridge was a “closed system” in the sense that

           the lock at its southern end prevented the flow of water to or from the Mississippi

           River. Therefore, when Hurricane Katrina storm surge reached this part of the IHNC, it

           filled up “like a bathtub” without generating appreciable currents.

                 References
                 Cushing Tr. 2052:23-2053:13 (Ex. 1.N).
                 Cushing Report at App. B at B25-26 (water was “filling the bathtub” with no
                 appreciable currents) (DX 196) (Ex. 2).
                 Mosher Dep. 171:12-16 (end of IHNC was closed off; lock gates were closed)
                 (DX 283) (Ex. 17).
                 Pazos Dep. 104:8-11 (“Current is very insignificant because the current needs to
                 flow in order to exist. And the locks were closed, so the flow – the flow was very
                 limited or local …”) (DX 218) (Ex. 6).
                 LNA Pre-Trial Undisputed Fact 20 (“The IHNC below the Florida Avenue Bridge
                 was a ‘closed system’ in the sense that the lock at its southern end prevented the
                 flow of water to or from the Mississippi River.”) (Ex. 4).

     22. Currents in the IHNC could not have overcome the hurricane winds and moved the

           barge from the LNA Terminal to either breach site until after both breaches occurred.

           Indeed, the winds were 700 times stronger than the currents in their effect on the barge.

                 References


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                 Cushing Report at 48, 166-68 (currents did not flow toward north or south breach
                 and “were very nearly zero” prior to breaching) (DX 196) (Ex. 2).
                 Cushing Tr. 2042:24-2043:2 (“the current in the water was very, very small. I
                 would say insignificant.”) (Ex. 1.N).
                 Cushing Tr. 2053:14-23 (“The currents that we calculated and that existed in the
                 canal were very, very weak, on the order of a hundredths of a knot. And,
                 therefore, they would have had very, very little effect compared to the wind, which
                 would have been, say, 700 times more forceful on the barge.”) (Ex. 1.N).
                 Cushing Tr. 2170:3-8 (“at 9 o’clock, 9:15 and 9:30, . . ., the north and south
                 breaches had already formed. And in doing so, they were then . . . contributing . .
                 . to the currents of the canal, which prior to the breaches were insignificant, but
                 once the breaches had formed, they were then adding to the track of the [barge]”)
                 (Ex. 1.N).
                 Pazos Dep. 104:8 (current “very insignificant”) (DX 218) (Ex. 6).

     23. Tides could not have moved the barge to the site of the breaches. Tidal movement in

           the New Orleans area is “on the order of a foot to a foot and a half” diurnally, which

           means there is “one high and one low tide per day.” Tides in the IHNC take 12 hours

           to rise one foot and to fall one foot, which means water rises and falls at a rate of

           approximately 1 inch per hour.

                 References:
                 Cushing Tr. 2054:5-2055:20 (Ex. 1.N).
                 IPET Report Vol. V Fig. 51 (hydrograph for IHNC) (DX 145) (Ex. 13).
                 Cushing Report at B-10 (IHNC Lockmaster’s Record showing flow into the IHNC
                 on the IHNC Lock Canal Gage) (DX 196) (Ex. 2).

Hurricane Katrina – Waves

     24. IPET conducted a scientific study and concluded that wave heights in the IHNC during

           Hurricane Katrina reached 1 foot before 5:30 a.m. CDT on August 29, 2005, and 2-3

           feet after that.

                 References
                 IPET Report Vol. IV at IV-4 (DX 145) (Ex. 13).
                 Cushing Tr. 2065:7-16 (confirming IPET’s analysis of wave heights with his own
                 calculations of wave height using Navy Charts) (Ex. 1.N).

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                 Spinks Tr. 1613:17-1614:10, 1614:17-20 (IPET found that maximum wave
                 heights during peak wind conditions were 1 foot before 5:30 a.m., and 2-3 feet
                 after that; IPET went through a scientific process to come up with those figures)
                 (Ex. 1.J).
                 Pazos Report at 37 (reviewing IPET’s study and noting that waves associated
                 with the surge “decay rapidly, and within less than a mile have been reduced to
                 about 1.2 feet”) (PX 402) (Ex. 5) .
                 Pazos Report at 39-40 (quoting IPET’s study at IV-227, which states that
                 “[s]imilar to waves entering the MRGO/GIWW, these waves [entering the IHNC]
                 decay rapidly and within less than a mile have been reduced to about 1.2 feet”
                 and also noting that the maximum waves in the IHNC during Katrina occurred at
                 9:30 a.m.) (PX 402) (Ex. 5).

     25. Photographic and other evidence confirms wave heights in the IHNC during the

           morning of August 29 of approximately one to three feet as set forth in the IPET

           Report, and discredits any allegation of a purported twenty-foot wave.

                 References
                 O’Dowd Tr. 2225:19- 2227:6 (Ex. 1.O).
                 LNA001345 and LNA001347 (photographs taken by O’Dowd the morning of
                 August 29, showing small waves) (DX 35) (Ex. 18).
                 Cushing Tr. 2065:17-2066:7 (discussing DX 35 at LNA001345 (Ex. 18): “This is
                 the time when conditions were the greatest. The wind had backed around from
                 the northeast and was coming from a more northerly direction. So the wind
                 would have had the greatest possible fetch and the greatest possible strength.
                 And here we see waves of about 3 feet high.”) (Ex. 1.N).
                 Cushing Tr. 2067:2-12 (twenty-foot wave would have destroyed structures found
                 standing after Katrina) (Ex. 1.N).

     26. Wind-activated waves tend to propagate in the direction of the prevailing wind.

                 References
                 Cushing Tr. 2063:10-20 (Ex. 1.N).
                 Cushing Report at 47, 79 (“Another important property of wind-generated waves
                 is that they travel in the same direction as the prevailing wind.”) (DX 196) (Ex.
                 2).
                 Spinks 2009 Dep. 23:17-20 (matter of “common sense”) (DX 222) (Ex. 19).
                 Pazos Dep. 151:5-9 (asked whether he had an opinion about the prevailing
                 direction of waves at the time the barge supposedly contacted the wall at the
                 north breach, response was “[a]bsolutely no”) (DX 218) (Ex. 6).

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     27. Waves reflecting off a surface have less energy than “incoming” waves approaching

           that same surface.

                 References
                 Cushing Tr. 2067:23-2068:6 (“a reflective wave is never as strong as a . . .
                 primary wave . . . reflective waves wouldn’t overcome the primary waves”) (Ex.
                 1.N).
                 Cushing Report at 79 (“Reflected waves lose energy when reflection takes
                 place.”) (DX 196) (Ex. 2).
                 Spinks 2009 Dep. 23:23-24:2 (reflected waves have less energy) (DX 222) (Ex.
                 19).

     28. LNA has applied scientific principles to determine the effect of waves on a free-

           floating barge, including performing calculations, the results of which show that waves

           could not have moved the barge from the LNA terminal across the canal to either

           breach site.

                 References
                 Cushing Tr. 2042:18-2043:7 (waves “moving in the direction of the wind, so they
                 would have only added to the force of the wind” and would not have moved the
                 barge against the prevailing winds) (Ex. 1.N).
                 Cushing Tr. 2063:10-20 (waves could not have moved the barge “[b]ecause
                 waves move with the wind . . . [s]o they would be moving in the same direction
                 that the wind would be moving”) (Ex. 1.N).
                 Cushing Tr. 2067:13-15 (not possible for waves to move barge against wind) (Ex.
                 1.N).
                 Cushing Report at 79 (wind-generated waves, which were the only waves present
                 in the IHNC during Hurricane Katrina, “could not possibly move any floating
                 object in a direction counter to the wind”; reflected wave “can never have as
                 much energy as the primary wave, and [reflected waves] can never force a
                 floating object in the direction from which the primary wave is coming”) (DX
                 196) (Ex. 2).
                 Cushing Report at 131-32 (waves had insufficient energy to propel barge) (DX
                 196) (Ex. 2).
                 Cushing Report at 164 (calculations show pitching motion of barge in waves in
                 IHNC would involve maximum vertical motion of slightly more than one foot) (DX
                 196) (Ex. 2).


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                 Dooley Report at 32 (waves moving with the prevailing wind “would also prevent
                 the barge from moving northward” to the North Breach”) (DX 198) (Ex. 10).

The Floodwall Breaches on the IHNC

     29. The North Breach occurred no later than 6:00 a.m. on August 29, 2005. The North

           Breach was approximately 215 feet in length.

                 References
                 Cushing Tr. 2046:17-20 (Ex. 1.N).
                 Cushing Report at 51, 103-04 (DX 196) (Ex. 2).
                 Bea Report at 45-47 & App. C at 9 (DX 206) (Ex. 20).
                 Bea Tr. 2752:21-2753:1 (Ex. 1.Q).
                 Pazos Report at 8, 37 (PX 402) (Ex. 5).
                 Marino Report at 3-16 (PX 397) (Ex. 3).
                 LNA Pre-Trial Undisputed Fact 28 (“The North Breach was approximately 215
                 feet in length.”) (Ex. 4).

     30. The South Breach occurred at approximately 7:00 a.m. on August 29, 2005. The South

           Breach was more than 800 feet in length.

                 References
                 Cushing Tr. 2051:18-19 (Ex. 1.N).
                 Cushing Report at 114 (DX 196) (Ex. 2).
                 Bea Report at 48-50, App. C at 9 (DX 206) (Ex. 20).
                 Marino Report at 3-16 (PX 397) (Ex. 3).
                 Pazos Report at 8, 37 (PX 402) (Ex. 5).
                 LNA Pre-Trial Undisputed Fact 29 (“The South Breach was more than 800 feet in
                 length.”) (Ex. 4).

     31. Both the North Breach and the South Breach had already occurred before the prevailing

           winds came to include any component blowing from the direction of the LNA Terminal

           toward the east bank of the IHNC.

                 References
                 Cushing Tr. 2046:13-16; 2047:1-7, 2051:5-2052:10 (Ex. 1.N).


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                 Cushing Report at 104, 166-67 & Fig. 109 (at the time of the north breach, winds
                 “prevented the barge from moving to the north breach site”) (DX 196) (Ex. 2).
                 Cushing Report at 129, 166 (impossible for wind to have pushed barge into wall
                 at North Breach) (DX 196) (Ex. 2).
                 Cushing Report at 114 (“it is clear that the [south] breach had to have occurred
                 before the winds had a west-to-east component”) & Fig. 110 (DX 196) (Ex. 2).
                 Marino Report at 3-11 (winds “essentially parallel” to canal before 9:00 a.m.
                 [i.e., blowing north to south along axis of the canal]) (PX 397) (Ex. 3).

Floodwall Design and Potential Barge Impact

     32. The floodwalls on the IHNC were “I-walls” comprised of a twenty-foot-long steel sheet

           pile driven into an earthen levee and subsoil to a depth of approximately seventeen feet

           and capped by a six-foot concrete monolith (cap). The concrete monolith was poured

           in two segments, the first encasing the top of the sheet pile and the second extending

           three feet above the top of the sheet pile. The upper “pour” consisted of three feet of

           concrete and reinforcing bar (“rebar”) extending above the sheet pile. The floodwall

           had a horizontal construction joint between the two “pours” of concrete. A schematic

           of the floodwall, including the concrete cap and the construction joint between the two

           pours of concrete, is attached as Findings of Fact Appendix 4.

                 References
                 Cushing Report at 29-30 & Fig. 21 (describing sheet pile I-wall) (DX 196) (Ex.
                 2).
                 Cushing Tr. 2071:13-2073:8 (referring to Cushing Slide CC-038 (DX 349)) (Ex.
                 1.N).
                 Mosher Dep. 28:19-29:2 (“It was … what we called an I-wall, which is
                 essentially a sheet pile wall with a concrete header section sticking above the
                 ground”) (DX 283) (Ex. 17).
                 Bartlett Tr. 312:13-314:1 (construction joint) (Ex 1.B).
                 Marino 2009 Dep. 58:13-59:10 (floodwall had a six-foot concrete monolith, with
                 a construction joint three feet below the top of the monolith) (DX 221) (Ex. 7).
                 Pazos Report at 35-36 (floodwall “is a flexible cantilever (I type) structure
                 embedded in a soil mass of soft saturated clay”; sheetpile extends 5 feet into the 8
                 foot wall) (PX 402) (Ex. 5).

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                 Marino Report Fig. 2.3 (dimensions of I-wall) (PX 397) (Ex. 3).
                 Marino Report at 2-23 (describing two pours of concrete on monoliths) (PX 397)
                 (Ex. 3).
                 Bartlett Report App. A & B (schematic of floodwall and concrete cap) (PX 378)
                 (Ex. 21).


     33. The sheetpile was embedded and anchored in the supporting soils and derived its

           strength from those soils. Accordingly, the failures that occurred at the North Breach

           and South Breach required a failure in the soil into which the steel sheet pile was sunk.

           The floodwall failed when it lost the support of the soils on the protected side of the

           floodwall.

                 References
                 Bakeer Report at 20-21 (DX 205) (Ex. 23).
                 Cushing Report at 51 (sheet piling requires “passive soil pressure to resist
                 overturning forces”) (DX 196) (Ex. 2).
                 Mosher Dep. 17:12-17 (“The wall was founded in a levee, which is made up of
                 soil, and the principal resisting forces to any loads that are applied to the wall
                 were resisted by the soils that the wall was setting in, and so that it’s a classical
                 soil-structure interaction problem”) (DX 283) (Ex. 17).
                 Pazos Dep. 201:15-18 (Q: “And so in order for the wall to do its job, it needs to
                 have support in the soil on the protected side, right?” A: “Yes.”) (DX 218) (Ex.
                 6).
                 Marino 2009 Dep. 55:14-17 (Q: “[I]n a flood stage, you need to have the sheet
                 pile provide resistance in the soil and then below the levee; isn’t that right?” A:
                 “Yes.”) (DX 221) (Ex. 7).
                 Marino 2009 Dep. 55:18-22 (Q: “And if you’re going to fail the sheet pile, you’ve
                 got to fail the soil; isn’t that right?” A: “I haven’t thought of all instances of
                 whether that’s true or not, but I would say in general, it’s true.”) (DX 221) (Ex.
                 7).
                 Marino 2008 Dep. 40:13-15 (Q: “And in order to fail the floodwall, you have to
                 have some failure of the soil.” A: “Yes.”) (DX 225) (Ex. 24).
                 Marino 2008 Dep. 46:16-47:2 (agreeing that “the fundamental principle is that in
                 order for a wall to resist a load it needs to have some sort of anchor somewhere
                 so that when the load is exerted the wall can push back” and that “embedment
                 depth” is one way to do that) (DX 225) (Ex. 24).



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     34. The concrete cap did not provide stability for the floodwall, but rather was intended to

           provide aesthetic appeal, to protect against rust, and to add some height to the wall.

                 References
                 Bakeer Tr. 2294:9-2296:11 (Ex. 1.S).
                 Team Louisiana Report at 151 (DX 144) (Ex. 25).

     35. LNA’s experts performed calculations showing that a barge impact, if it occurred,

           would cause local damage to the concrete cap but would not affect the steel sheet pile

           or supporting soil. The Army Corps’ expert (Mosher) and even plaintiffs’ experts

           (Marino and Bartlett) expressed agreement with this concept.

                 References
                 Cushing Report at 158-63 & App. D, E, F (analysis showing that a “barge
                 striking the concrete cap of the floodwall could not cause the sheetpile to fail” but
                 would only create localized damage (a “crack” or a “notch”) in the concrete
                 cap, with no effect in the sheet pile below) (DX 196) (Ex. 2).
                 Cushing Tr. 2074:11-2076:25, 2077:25-2080:7, 2078:8-11 (identifying
                 agreement with plaintiffs’ expert Mr. Bartlett that barge would hit above the
                 construction joint) (Ex. 1.N).
                 Mosher Dep. 91-92, 267 (identifying “[o]ther places where we saw barges hit
                 walls” and noting they “can cause damage to the walls, but it’s usually very local
                 damage to the wall[s]”; “punching through” the concrete cap but not “causing
                 the collapse”) (DX 283) (Ex. 17).
                 Marino 2009 Dep. 59:5-60:3 (admitting that construction joint in concrete cap
                 constitutes a point of weakness, and that he would expect the wall to shear at the
                 construction joint if the impact was sufficient) (DX 221) (Ex. 7).
                 Bartlett Tr. 359:25-360:1 (barge causes “localized damage to th[e] cap”) (Ex.
                 1.B).

Physical Evidence the Barge Did Not Cause the North Breach

     36. Photographs taken both immediately before and after Hurricane Katrina show a utility

           pole standing on the canal-side bank of the IHNC, close to the site of the North Breach

           and in a location that would have been in the path of the barge had the barge been

           present at or near the site of the North Breach.


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                 References
                 DX 345 (pre-Katrina photographs) (Ex. 26).
                 DX 106 (Ex. 27).
                 DX 263 (Ex. 28).
                 DX 344 (newspaper article from August 31, 2005) (post-Katrina) (Ex. 29).
                 Marino Tr. 1368:16-1371:12; 1372:11-18 (Ex. 1.I).
                 Marino Report at 4-7, Photo 4.6 (PX 397) (Ex. 3).

     37. Had the barge been floating free near the site of the North Breach, it would have

           toppled this utility pole.

                 References
                 Cushing Tr. 2098:23-2099:20 (barge travels perpendicular to wind and therefore
                 cannot arrive at breach without toppling pole) (Ex. 1.N).
                 Pazos Tr. 881:21-25 (“there’s no way the barge would have missed that phone
                 pole”) (Ex. 1.G).
                 Marino Tr. 1365:23-1366:3 (the pole is right in the middle of the breach) (Ex.
                 1.I).

     38. There was no damage at the site of the North Breach that could be associated with

           impact from a barge.

                 References
                 Bea Tr. 2683:13-21 (Bea personally examined sheet pile and floodwall in area of
                 North Breach and found no evidence a barge had come in contact with the
                 floodwall) (Ex. 1.Q).
                 Cushing Tr. 2095:17-2096:2 (Ex. 1.N).
                 Cushing Report at 63, 88, 175 (DX 196) (Ex. 2).
                 Bea Report at 54 (DX 206) (Ex. 20).
                 Bartlett Dep. 63:14-17 (DX 219) (Ex. 30).
                 Mosher Dep. 130:15-131:4 (physical evidence at North Breach was different from
                 what would have been seen had barge been present) (DX 283) (Ex. 17).

Physical Evidence the Barge Did Not Cause the South Breach




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     39. The physical evidence showed that the barge came into contact with the concrete cap of

           the floodwall at the far southern end of the South Breach, away from the area where the

           breach formed (i.e., the area where floodwall was pushed back in a “bow” shape).

                 References
                 Bakeer Tr. 2368:10-14 (South Breach began in the northern end of “bow” shaped
                 section) (Ex. 1.S).
                 Bea Tr. 2692:1-16 (Ex. 1.Q).
                 Cushing Tr. 2103:1-22 (there was no damage from the barge on the floodwall at
                 the point of initiation; the only damage to the concrete on the floodwall was
                 caused by the expansion of the sheet pile) (Ex. 1.N).

     40. Physical and photographic evidence in the damaged neighborhood shows the barge

           must have floated into the neighborhood after the water was already high. The barge

           floated over the top of a small school bus to arrive at its post-Katrina location. Thus,

           the water in the Lower Ninth Ward must have been higher than the top of the school

           bus when the barge entered the neighborhood.

                 References
                 Bea Tr. 2619:24-2620:8, 2656:9-23, 2684:21-2685:10, 2685:16-2686:7, 2792:6-
                 19 (Ex. 1.Q)

                 DX 360 (identifying school bus next to barge before floodwaters receded) (Ex.
                 31).

     41. In addition, photographs show the barge landed on top of telephone wires rather than

           knocking the wires or telephone poles over. The barge could not possibly have landed

           on top of the telephone wires unless the water in the neighborhood was already quite

           high at the time the barge arrived.

                 References
                 LNA010209-10 (photographs) (DX 100) (Ex. 32).
                 Cushing Tr. 2127:1-11 (Ex. 1.N).
                 Cushing Slide CC-108 (DX 349) (Ex. 33).
                 Cushing Report at 120, 121 (telephone wire) (DX 196) (Ex. 2).

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     42. Striations on the bottom of the barge matched the bent rebar at the far southern end of

           the South Breach, away from the main “bow” where the breach had already formed. In

           addition, concrete debris showed that the barge had necessarily passed over a portion of

           the fallen floodwall before coming into contact with the concrete cap at the end of the

           already-existing breach.

                 References
                 Cushing Slides CC-086-91 (DX 349) (Ex. 33).
                 Cushing Report at 90-91 (scratches matched rebar; panels inclined before
                 contact) (DX 196) (Ex. 2).
                 Pazos Tr. 836:25-837:2 (“So it’s clear that the barge enters on top of the levee
                 after knocking these concrete panels and gliding on top of the rebar”) (Ex. 1.G).
                 Bartlett Tr. 336:5-9 (scratches on barge matched rebar) (Ex. 1.B).
                 Team Louisiana Report at 67 (angle of rebar suggested this section of the wall
                 “was already leaning having failed earlier”) (DX 144) (Ex. 25).
                 LNA Pre-Trial Undisputed Fact 27 (“The barge passed through the floodwall at
                 the extreme southern end of the South Breach, at a location where bent rebar was
                 found which matched scratches found in the bottom of the barge.”) (Ex. 4).

Independent Investigations

     43. The IPET, Team Louisiana and ILIT investigations all concluded that the failure of the

           IHNC floodwall was the result of failure in the supporting soils, due to foundation

           instability or underseepage or both, and all expressly or implicitly found that the barge

           did not cause either breach.

                 References
                 IPET Report Vol. V at V-68 (DX 145) (Ex. 13).
                 Mosher Dep. 77:25-78:12 (IPET considered the barge as a potential cause of the
                 South Breach and “rejected that conclusion”) (DX 283) (Ex. 17).
                 ILIT Report at 6-7 (barge impact “was not the cause of the breach and failure”)
                 (DX 141) (Ex. 22).
                 Team Louisiana Report at 67 (“[t]he barge had clipped the end of the already
                 formed breach as it was sucked through”) (DX 144) (Ex. 25).


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                 Kemp Tr. 2982:11-13, 2986:1-4, 2987:25-2988:2 (Ex. 1.R).

Dated: August 30, 2011                       Respectfully submitted,

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